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DISTRICT OF CULOR ADO
UNITED STATES DISTRICT COURT
COLORADO DIVISION QUT JUN 13 AH 10: 40
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TODD RINALDI, trea
Petitioner, BY —-DEP. CLK
No.
. 7 -CV-01434
INTERACTIVE BROKERS LLC,
Respondents.

PETITION TO VACATE ARBITRATION AWARD

 

Pursuant to Section 10 of the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., Petitioner Todd
Rinaldi moves to vacate the arbitration award issued in Interactive Brokers LLC (IB) v. Todd Rinaldi,

FINRA Case No. 16-000394, and in support states as follows: '

THE PARTIES
1. Petitioner Todd Rinaldi who resides in Denver County, Colorado and thus is a citizen of the

state of Colorado.

2. Respondents Interactive Brokers LLC (“Claimant’’) is Headquartered at One Pickwick Plaza,

Greenwich, CT

'The Petitioner reserves the right to amend this petition and file further supporting declarations and a
memorandum in support of this petition within 14 days of receipt of the complete transcripts of the
arbitration hearing. The petitioner has requested those transcripts.
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JURISDICTION AND VENUE
3. This Court has jurisdiction over the subject matter of this petition pursuant to 28 U.S.C. §
1332(a)(1) because the parties are citizens of different States and the amount in controversy,

exclusive of interest and costs is greater than $75,000, and pursuant to 9 U.S.C. § 10.

4, This Court has jurisdiction over IB because they received an arbitration award pursuant to an

arbitration proceeding that took place in Denver, Colorado.
5. Venue is proper in this judicial district under 28 U.S.C. § 1391(1) and (c).

INTRODUCTION
6. On November 16, 2015, Petitioner incurred a deficit of approximately $563,000 with IB

through margined trading in a pharmaceutical stock, Clovis Oncology.
7. On February 9, 2016, IB filed the instant action.
8. On July 18, 2016, the FINRA set the hearing dates for May 9-11, 2017

9. On March 19 2017 the Petitioners lawyers withdrew from representing him at the arbitration

hearing thus leaving the petitioner essentially Pro-Se.

10. On April 24" the petitioner had right reconstructive shoulder surgery as the result of an

accident that occurred two weeks prior to that date.

11. On April 25, 2017 the petitioner filed a motion to continue so that he could familiarize
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himself with the details of the case and governing arbitration rules. The petitioner also raised the

fact that he had major reconstructive shoulder surgery as well.

12. On April 27" the Arbitration panel denied the petitioners request to continue and gave no

reason for doing so in error.

13. Petitioner was the target of an SEC investigation into insider trading (involving a stock
unrelated to the instant matter). The SEC notified the petitioner that it had made a preliminary
determination to file an enforcement action against him, and issued Wells Notice to the petitioner

on December 9, 2016.

14. On May 8 2017 the petitioner received a letter from the SEC indicating they had decided not

to recommend an enforcement action by the commission.

The Arbitration Hearing
15. During the arbitration hearing the Respondent IB made biasing statements to the arbitration
panel that the petitioner was the subject of a Wells Notice issued against him even though IB was
aware that the commission had decided not to take any action against him before the hearing.

(exhibit 1)

16. The Respondent argued that it was all but a certainty that the Petitioner would be convicted

of insider trading.
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17. When the Petitioner tried to address this declaration from the respondent, he was abruptly cut
off by the respondent. The arbitration panel did nothing to address this. Insider trading had

nothing to do with the arbitration proceeding.

GROUNDS RELIED ON FOR VACATUR OF AWARD

A. Vacatur Is Also Warranted Under Section 10(a)(3) Due To Misconduct On
The Part Of The Arbitrators That Prejudiced The Rights Of the Petitioner

18. The FINRA arbitration award entered against the petitioner should be vacated under
Section 10(a)(3) because “arbitrators were guilty of misconduct ... in refusing to
hear evidence pertinent and material to the controversy [and] other misbehavior ... by
which the rights of the petitioner were prejudiced.” 9 U.S.C. § 10(a)(3).

19. Although “[iJn making evidentiary determinations, arbitrators are not required to follow all the
niceties observed by the federal courts, ... they must give the parties a fundamentally fair
hearing.” Rosensweig v. Morgan Stanley & Co., Inc., 494 F.3d 1328, 1333 (11th Cir. 2007)
(internal quotations and citations omitted). Accordingly, vacatur under Section 10(a)(3) is
warranted where the arbitrators rendered fundamentally unfair evidentiary or procedural
rulings that harmed the challenging party. Jd. at 1336; see also Gulf Coast Indus. Workers
Union v. Exxon Co., USA, 70 F.3d 847, 850 (Sth Cir. 1995) (exclusion of evidence made
arbitration proceedings “fundamentally unfair’); Hoteles Condado Beach, La Concha and
Convention Ctr. v. Union De Tronquistas Local 901, 763 F.2d 34, 40 (1st Cir. 1985) (holding

that vacatur of arbitration award was warranted where “evidence effectively excluded by the
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arbitrator was both ‘central and decisive’ to [a party’s] position [and] therefore, the arbitrator’s

refusal to consider this evidence was ... destructive of [a party’s] right to present [its] case”).
20. The rulings outlined in paragraphs above provide ample reason to conclude that the
arbitration award against the petitioner was the result of a fundamentally unfair

hearing.

NOTICE OF PROCEEDINGS

21. Under 9 U.S.C. §12, this Petition was served on the respondent’s attorney within
three months after the arbitration panel issued the award.
22. Service on Claimants’ attorneys will be made as provided by statute in the same

fashion as provided by law as a notice of motion in an action in this Court.
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PRAYER FOR RELIEF
23. The Petitioner respectfully requests that the Court enter an order:
a. Staying the enforcement of the award until the
resolution of this Petition;
b. Vacating the award; and
c. Granting such other relief as the Court deems proper.
Dated: June 10, 2017 Respec sul 3
Todd Rinal

3509 Quivas Street

Denver, CO 80211
Telephone: (303) 809-0674
Facsimile: (303) 942-3455
rxfser@gmail.com
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Certifi f Servi
I hereby certify that on this 10th of June, 2017, a true and correct copy of the

foregoing was filed with the Court, and served by email and US mail on:

Darrell G. Waas, #1003
WAAS Campbell Rivera Johnson & Velasquez LLP
1350 17" Street, Suite 450
Denver, CO80202
Telephone: 720-351-4700
Facsimile: 720-351-4745
was@werlegal.com
